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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

LISA SHERMAN,

                   Plaintiff,                             Case No. 1:21-cv-00063

v.                                                        Hon. Jane M. Beckering

SPEEDWAY LLC, a foreign Limited
Liability Company, operating in Michigan,

                   Defendant.


           JOINT STATEMENT OF MATERIAL FACTS FOR SPEEDWAY LLC’s
                      MOTION FOR SUMMARY JUDGMENT

         The parties, through their undersigned counsel, submit the following Joint Statement of

Material Facts applicable to Speedway LLC’s motion for summary judgment under Federal Rule

of Civil Procedure 56.

         1.        Defendant Speedway LLC (“Speedway”) owns and operates the gas station and

convenience store located at 350 S. Grand St. in the Village of Schoolcraft, Michigan. The parties

refer to this location as “the Store.”

         2.        Running along the front entrance of the Store and continuing along the length of

the customer parking lot is the Store sidewalk (“sidewalk”).

         3.        At approximately 2:30 PM on October 12, 2019, Plaintiff Lisa Sherman (Jones)

arrived at the Store in a car driven by her husband, Charles Jones. Plaintiff’s step-grandson, J.J.,

also was in the car.

         4.        Plaintiff, her husband, and her step-grandson stopped at the Store to purchase

snacks and use the restroom.




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           5.      When Plaintiff arrived at the Store, the temperature was approximately 50°F and it

was sunny.

           6.      While she was on Speedway’s premises, Plaintiff had the status of a business

invitee.

           7.      Plaintiff, her husband, and her grandson entered the Store without incident and

purchased snacks. A surveillance photograph of the group at the counter inside the Store taken at

2:37 PM is attached as Joint Exhibit 1.

           8.      On October 12, 2019, the Store’s restroom was out of order and undergoing repairs.

           9.      Due to its restrooms undergoing repairs, Speedway hired a company to set up port-

           a-potties outside the Store for customers to use.

           10.     Plaintiff, her husband, and her grandson exited the Store via the double-doors at the

front. The group turned left and headed north along the sidewalk toward the port-a-potties.

           11.     As they walked along the sidewalk toward the port-a-potties, J.J. walked next to

Plaintiff. Plaintiff’s husband walked behind Plaintiff and J.J.

           12.     While she was walking along the sidewalk toward the port-a-potties, Plaintiff

tripped on a section of raised sidewalk and fell to the ground.

           13.     Plaintiff’s husband took photographs of the sidewalk on October 12, 2019, October

18, 2019 and November 4, 2019. Copies of these photographs are attached as Joint Exhibits 2–

16.

           14.     During her deposition, Plaintiff circled in red pen a photograph of the section of

sidewalk on which she tripped; however, that photograph was not taken on the date of the accident.

This is depicted in Joint Exhibit 2 (LISA0126.)




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         15.       The Store’s General Manager, William Reynolds, took photographs of the sidewalk

on October 13, 2019. Copies of these photographs are attached as Joint Exhibits 17–19.

         16.       Both William Reynolds and Plaintiff’s husband measured the raised portion of the

sidewalk to be approximately 3/4 inch at the expansion joint between two pieces of concrete.

         17.       Before her fall on October 12, 2019, Plaintiff was not disabled.

         18.       Plaintiff filed her lawsuit in the Kalamazoo County Circuit Court and Speedway

removed it to the U.S. District Court on the basis of diversity jurisdiction.


Stipulated as to form and content:


Dated: December 14, 2021                             Dated: December 14, 2021


  /s/ Mark K. Schwartz                                 /s/ Stephen M. Ragatzki
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